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                EXHIBIT 1
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Subject: Authors Guild / Alter -- Outstanding Discovery Issues
Date:    Friday, May 24, 2024 at 10:06:23 PM Central Daylight Time
From:    Aaron.Macris at lw.com (via Alter-AI-TT list)
To:       Alter-AI-TT@simplelists.susmangodfrey.com, Alejandra Salinas, Dozier, Wesley
CC:       openaicopyrightlitigation.lwteam@lw.com, OpenAICopyright@mofo.com, KVPOAI@keker.com


EXTERNAL Email
Counsel,

During last week’s meet and confer concerning the ﬁc@on plain@ﬀs’ discovery responses, plain@ﬀs’
counsel asked to consolidate correspondence and calls between the ﬁc@on and non-ﬁc@on plain@ﬀs’
discovery responses going forward. To that end, I have consolidated below various outstanding issues
concerning the ﬁc@on and non-ﬁc@on plain@ﬀs’ document produc@on and responses to OpenAI’s
discovery requests below.

      Overall Progress of Plain@ﬀs’ Document Produc@onProduc@on: As reﬂected in other recent
      correspondence, we are becoming increasingly concerned with the lack of progress plain@ﬀs have
      made in producing documents responsive to OpenAI’s discovery requests. The ﬁc@on plain@ﬀs
      indicated that a signiﬁcant produc@on would be forthcoming last week. However, that produc@on
      only includes documents from three addi@onal named plain@ﬀs and is responsive to only a
      narrow subset of OpenAI’s requests. Accordingly, 11 of the 18 named ﬁc@on plain@ﬀs have not
      yet produced any documents. Similarly, 7 of the 11 named non-ﬁc@on plain@ﬀs also have yet to
      produce any documents. Moreover, some of the plain@ﬀs who have produced documents have
      not provided much; for example, Authors Guild has only produced 14 documents, and David
      Baldacci has only produced 2 documents. Even where produc@ons have been larger for some
      named plain@ﬀs, the contents of those produc@ons have been minimally responsive to only a
      handful of requests; for example, Sylvia Day’s en@re produc@on to date consists of auto-generated
      weekly update emails from an AI-automated content protec@on service. The substan@al
      comple@on deadline for documents responsive to OpenAI’s ﬁrst set of requests for produc@on is
      on June 14, which is approximately three weeks away.

      Documents Rela@ng to ChatGPT Outputs Described in Complaint    Complaint:: The par@es have
      discussed this issue at mul@ple meet and confers (including on April 18 and May 1) and in mul@ple
      wri]en exchanges (see, e.g., April 9 Le]er from J. Wetzel; May 9 Email from A. Macris). Based on
      our discussions and the correspondence, we believe the par@es are at an impasse, as both the
      ﬁc@on and non-ﬁc@on plain@ﬀs have refused to produce (a) all ChatGPT outputs that were
      generated in the course of plain@ﬀs’ eﬀorts to generate the outputs described in their complaint,
      as well as the corresponding prompts, and (b) related documents outlining plain@ﬀs’ analysis and
      process for genera@ng those outputs.

      Documents and Communica@ons Rela@ng to OpenAI       OpenAI: Although the ﬁc@on plain@ﬀs have
      agreed to produce documents and communica@ons rela@ng to OpenAI (see, e.g., Authors Guild’s
      Response to Request No. 9), the non-ﬁc@on plain@ﬀs have indicated that they are only willing to
      produce documents and communica@ons that relate to OpenAI “and the Class Works.” See May 5
      Email from R. Havas. OpenAI and counsel for the non-ﬁc@on plain@ﬀs ﬁrst met and conferred
      about this request on April 3, and then aeer plain@ﬀs’ counsel took mul@ple weeks to respond to
      follow-up correspondence, the par@es discussed this again on May 13. During that call, the

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par@es made no further progress toward reaching resolu@on on this issue, and plain@ﬀs have not
oﬀered any compromises that are acceptable. For the reasons described in our May 5 email and
discussed on our May 13 meet and confer, documents and communica@ons rela@ng to OpenAI are
material to the issues in this case. Moreover, par@cularly given that all the non-ﬁc@on plain@ﬀs
are individuals instead of organiza@onal plain@ﬀs, who presumably possess a narrow universe of
documents and communica@ons rela@ng to OpenAI, this request imposes a low burden on
plain@ﬀs. It appears the par@es are at an impasse on this issue

Author ’s Guild’s Purported Status as an Individual Plain@ﬀ Plain@ﬀ: Authors Guild has asserted
that it is not ac@ng as an organiza@onal plain@ﬀ in this ac@on and has refused to produce
discovery about any works except for Mignon Eberhart’s works. OpenAI ﬁrst addressed this issue
in correspondence sent on April 9, and the par@es met and conferred about this on April 18.
Authors Guild has yet to oﬀer any authority or adequate explana@on as to why it could properly
withhold relevant discovery in its possession or can designate itself an individual plain@ﬀ in the
ac@on. It appears the par@es are at an impasse on this issue.

Documents Related to Ownership of the Asserted Works (Request for Produc@on No.
2)
2)::

      First, both the ﬁc@on and non-ﬁc@on plain@ﬀs have refused to produce various categories
      of documents related to ownership of the asserted works, including documents reﬂec@ng
      disputes over ownership and work-for-hire agreements. We have met and conferred about
      these documents with the ﬁc@on plain@ﬀs mul@ple @mes, including most recently on May
      13, and it appears the par@es are at an impasse. As to the non-ﬁc@on plain@ﬀs, aeer
      mee@ng and conferring about this, plain@ﬀs’ counsel indicated in their May 10 email that
      plain@ﬀs were “reviewing the case law [OpenAI] provided and [would] respond with
      [plain@ﬀs’] posi@on early next week.” We did not hear back, and it appears we are at an
      impasse with non-ﬁc@on plain@ﬀs on this request as well.

      Second, as a point of clariﬁca@on, please conﬁrm that the non-ﬁc@on plain@ﬀs intend to
      produce copies of deposits submi]ed to the U.S. Copyright Oﬃce in connec@on with the
      asserted works, as the ﬁc@on plain@ﬀs have conﬁrmed they will do.

Enforcement of the Asserted Works Works: OpenAI has requested documents rela@ng to eﬀorts to
enforce the asserted works, including documents concerning eﬀorts to monitor for infringement
of the asserted works. Although the ﬁc@on plain@ﬀs have agreed to produce any non-privileged
copyright monitoring records in their possession (see May 10 Email from W. Dozier), the non-
ﬁc@on plain@ﬀs have not agreed to do the same. Instead, plain@ﬀs have agreed only to provide
“documents suﬃcient to iden@fy any infringement monitoring services that the plain@ﬀs have
used for the class works.” However, as discussed during our May 13 meet and confer, that
apparently omits reports or other communica@ons from such monitoring services iden@fying
detec@ons of poten@al infringement, as well as communica@ons concerning plain@ﬀs’ poten@al
plans to address such poten@al infringement. Please conﬁrm that the non-ﬁc@on plain@ﬀs will
produce such materials or that the par@es are at an impasse.

 The non-ﬁc@on plain@ﬀs have also refused to produce records of plain@ﬀs’ own a]empts to
 monitor for copyright infringement, if any. On that point, from our May 13 meet and confer, I
 understood the non-ﬁc@on plain@ﬀs are reluctant to agree to produce materials concerning their

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 own eﬀorts to monitor for copyright informa@on because they do not want to reconstruct such
 eﬀorts that may not have been well documented. However, OpenAI is not reques@ng that they
 do so; instead, if plain@ﬀs possess records or documenta@on of their own copyright monitoring
 eﬀorts, they should produce them. It appears the par@es are at an impasse on this issue.

A]empts to License the Asserted Works (Nonﬁc@on RFP No. 36; Fic@on RFP No. 37)          37):
Both sets of plain@ﬀs have agreed to produce documents and communica@ons rela@ng to
a]empts to license the asserted works. However, we have not come across these types of
documents in plain@ﬀs’ produc@ons so far. Please conﬁrm that plain@ﬀs are searching for
documents responsive to these requests and please provide an es@mate of when plain@ﬀs
an@cipate they will begin producing them.

Total Revenue Broken Down by Source Monthly (Nonﬁc@on RFP No. 35; Fic@on RFP
No. 36)
      36): When we met and conferred about these requests on May 3, plain@ﬀs asked for
clariﬁca@on as to what these requests sought that would not be reﬂected in licenses that plain@ﬀs
had agreed to produce. I explained that licenses themselves may not reﬂect how much revenue is
actually generated by an asserted work; for instance, it might only provide a per-sale royalty rate
without any informa@on about the number of sales. It was my understanding from the meet and
confer that plain@ﬀs would evaluate this further and follow up if they would agree to produce
documents responsive to this requests. Please conﬁrm plain@ﬀs will produce responsive
documents.

Documents Rela@ng to Reviews of the Asserted Works (Nonﬁc@on RFP No,. 18;
Fic@on RFP No. 19)  19): When mee@ng and conferring on these requests, plain@ﬀs expressed
concerns about vagueness of scope and what types of materials it would cover that is not already
publicly available. As explained, one example would be private correspondence about reviews of
the asserted works, such as correspondence between the named plain@ﬀs and their publishers
about the cri@cal recep@on of the asserted works. OpenAI will agree to narrow this request to
private communica@ons about reviews or other cri@cal recep@on of the asserted works. Please
conﬁrm that plain@ﬀs will agree to produce such documents.

Licenses Acquired by Plain@ﬀs Providing Permission to Use Other Works in Asserted
Works (Nonﬁc@on RFP No. 19; Fic@on RFP No. 21); Documents that Informed
Prepara@on of the Asserted Works (Nonﬁc@on RFP No. 24; Fic@on RFP No. 25); and
Documents Regarding Primary/Secondary Sources Underlying Asserted Works
(Nonﬁc@on RFP No. 25; Fic@on RFP No. 26)       26): When mee@ng and conferring on these
requests, plain@ﬀs asked for clariﬁca@on of the relevance and scope. As discussed, materials
responsive to these requests are relevant, among other reasons, to protectability. For example,
licenses to use other works in the asserted works may shed light on whether the asserted works
are incorpora@ng third par@es’ copyrighted material without authoriza@on. Similarly, any
bibliographies or other records outlining what sources were relied upon in crea@ng the asserted
works and how may shed light on what por@ons of the asserted works might cons@tute
protectable original expression and what por@ons do not. Please conﬁrm that plain@ﬀs will
produce materials responsive to these requests.

OpenAI Accounts (Fic@on RFP No. 25; Nonﬁc@on RFP No. 30)         30): Plain@ﬀs asked if OpenAI
would be willing to accept an iden@ﬁca@on of the plain@ﬀs’ handles for their OpenAI accounts in
sa@sfac@on of this request, without the other informa@on men@oned in the request. OpenAI

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      would agree to narrow this request to seek an iden@ﬁca@on of plain@ﬀs’ OpenAI account handles,
      if plain@ﬀs would agree to produce that.

      Timeframe of Requests: Plain@ﬀs produc@ons to date have had a wide range of @meframes.
      See e.g., FICTION-0001086 (agreement signed by Michael Connelly in 2007); FICTION-0005768
      (agreement signed by Elin Hilderbrand in 2021). During our April 18 meet and confer, plain@ﬀs
      did not suggest a @meframe for its responses. In later correspondence, plain@ﬀs indicated that
      produc@ons so far were not @me limited but they “reserve [their] general rights to produce only
      relevant, non-privileged documents in [their] possession, custody, or control within a reasonable
      and propor@onate @meframe. May 10 Email from W. Dozier. Please iden@fy the @meframe that
      Plain@ﬀs are applying to their produc@ons.

      Priority Produc@ons: Aeer wai@ng over two weeks for a response from plain@ﬀs regarding
      pending discovery requests, OpenAI iden@ﬁed ﬁve categories of relevant and responsive
      documents for priority produc@on. See April 24 Email from A. Macris. When we met and
      conferred on May 13, plain@ﬀs indicated they were open to the idea of priori@zing produc@on of
      certain categories of responsive documents assuming that OpenAI was willing to do the same.
      Plain@ﬀs, however, proceeded to resist every category of priority documents OpenAI proposed.
      As OpenAI has previously indicated, we are endeavoring to expedite our searches for documents
      you have iden@ﬁed as priori@es. See e.g., May 17 Email from E. Burgoon. Please conﬁrm whether
      plain@ﬀs will also a]empt to priori@ze the requests we previously iden@ﬁed in our April 24 email
      and which plain@ﬀs have already agreed to produce.

Regards,
Aaron

Aaron Macris
Pronouns: he/him/his

LATHAM & WATKINS LLP
200 Clarendon Street | Boston, MA 02116
D: +1.617.880.4640



_________________________________

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